Case 2:04-Cr-20031-BBD Document 80 Filed 04/18/05 Page 1 of 2 Page|D 80

Fll.,f_:,.. 1 __ n 4 n ,

IN THE UNITED STATES DISTRICT CoURT %{
FOR THE wEsTERN DISTRICT oF TENNESSEEO§ ApR l 8 m 3; U__
WESTERN DIVISION ’

ROBEF\`T R. D[ `.!~§GL|O

CLERK. U.S. D|‘~`T. CT.

UNITED STATES OF AMERICA, § W.D. OF TN' MSVEPH|S
Plaintiff, )
vs. )

) Criminal No. 04-20031-D/P

TOMMY TAYLOR, )
)
Defendant. )

 

ORDER REVOIGNG THE DEFENDANT’S BOND

 

By agreement of the government and the defendant, the defendant’s bond is revoked. lt

is hereby ORDERED, ADJUDGED AND DECREED THIS /5 day of Apri], 2005.

 

ED STAT DISTRICT COURT IUDGE
BERNICE B. DONALD

  

@
APPROVE ~
Carnille R. McMullen

ASSiStant United States Attorney
167 N. Main St., Ste. 00
Memphis, TN 38103

(BPR #018202)

‘ -- '=~~.-Wm» entered on the dockets eet In co‘r:np|iance
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Honorable Bernice Donald
US DISTRICT COURT

